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F l L Bv O“(`/?vj aa§}<’o
MICHAEL G. RoBINsoN and to - 03

FREDRICK J. IVORY,

Thomas M. Gouid, clark
u. s. cashier own
W. o. oF TN, Jmso,,

No. 04-1126-T/An

Plaintiffs,
VS.

WILLIAM F. HARKNESS, ET AL.,

\_/\_/\~_/`-_-/\.,/\_/\_/\~_/\._/'\_/

`Def`endants.

 

ORDER DENYING PLAINTIFFS’ MOTION TO ALLOW
ADDITIONAL TIME FOR SERVICE OF PROCESS
AND
ORDER DISMISSING DEFENDANT LANE

 

Plaintif`fs Michael G. Robinson and Fredricl< J . lvory filed a complaint for personal
injuries on April 19, 2004, in the Circuit Court of Madison County, Tennessee, against
defendants William F. Harkness and Joseph E. Lane. Defendant Harkness removed the
action to this Court on .lune 3, 2004. Bef`ore the Court is plaintiffs’ motion for additional
time in Which to serve defendant Lane, filed June 30, 2005. Defendant Harkness has
responded to the motion.

On March 16, 2005, defendant Lane filed a motion to dismiss for insufficiency of
service of process. Plainti_ff`s responded to the motion by asserting that they had been

diligent in attempting to locate Lane, and had hired a private investigator to assist in that

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with nme 53 and:oryg (a) FncP on __Q];[L`QL_

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endeavorl Plaintiffs requested an extension of time to obtain service of process On April
4, 2005, the Court entered an order denying the motion to dismiss and granting plaintiffs an
additional 90 days in which to serve defendant Lane. That additional period has now
expired.

Federal Rule of Civil Procedure 4(m) provides:

lf service of the summons and complaint is not made upon a defendant within

120 days after the filing of the complaint, the court, upon motion or on its own

initiative after notice to the plaintiff, shall dismiss the action without prejudice

as to that defendant or direct that service be effected within a specified time;

provided that if the plaintiff shows good cause for the failure, the court shall

extend the time for service for an appropriate period.
'l`hus, the Court mu_st grant an extension of time if the plaintiff shows good cause for the
failure to serve the defendant However, the Court w grant an extension of time even if
good cause is not shown. &_e Fed. R. Civ. P. 4(m) adv. committee note to 1993 amendment
While the rule does not specifically limit the number and length of any extensions that may
be allowed, the fact that plaintiffs received a prior extension of time should be considered
in determining whether the present request is to be granted

The Court finds that the plaintiffs have failed to show good cause for a further
extension of time to serve defendant Lane and that there is no justification for granting
additional time in the absence of good cause. Plaintiffs’ motion merely states that a private
investigator was hired and that his efforts to locate defendant Lane have been unsuccessful.

The plaintiffs have now had more than one year from the filing of this action in which to

locate and serve defendant Lane. There is nothing to indicate that further efforts would be

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any more productive

Plaintiffs’ motion to allow additional time for service of process is DENIED. This
action is hereby DISMISSED without prejudice as to defendant Joseph E. Lane for failure
to serve process, pursuant to Fed. R. Civ. P. 4(m).

iT IS SO ORDERED.

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DATE (/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:04-CV-01126 was distributed by fax, mail, or direct printing on
July 18, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

